     Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 1 of 13




                 UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION
TIMECKA GREEN,

      Movant,

v.                                               CV417-001
                                                 CR415-204
UNITED STATES OF AMERICA,

      Respondent.

                 REPORT AND RECOMMENDATION

      Indicted on multiple counts of drug-trafficking charges, Timecka

Green twice rejected the Government’s offered plea agreements and

proceeded to trial, where she was convicted on all counts. Docs. 1

(indictment), 109 (jury verdict), 148-1 (Green’s signed acknowledgement

she elected to proceed to trial). 1 She now seeks to vacate her sentence

under theories of ineffective assistance of counsel, prosecutorial

misconduct, and an invalid indictment. Docs. 138 & 139. The

Government opposes. Doc. 148.

I. BACKGROUND

      Green was indicted and tried for her role in a crack cocaine


1
 The Court is citing to the criminal docket in CR415-204 unless otherwise noted,
and all page numbers are those imprinted by the Court’s docketing software.
    Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 2 of 13




manufacture and distribution conspiracy. Docs. 1 & 109. Among other

witnesses and other evidence, Green’s minor daughter, T.G., made

(multiple inconsistent) statements to officers, testified against her

before the grand jury, testified against her at trial, and testified for her

at the sentencing hearing.    See docs. 146 (trial transcript) at 73-96 &

147 (sentencing hearing transcript) at 29-47. The Court denied Green’s

motion for a new trial, overruled counsel’s objections to the Presentence

Investigative Report (PSR), and sentenced her to 121 months’

imprisonment. Docs. 114 & 121; doc. 147. Green elected not to appeal

her conviction or sentence. Doc. 126 (signed Post-Conviction

Consultation Certification) & 129 (judgment).

II. ANALYSIS

     Green presents three grounds for relief: (1) the indictment was

invalid because it failed to stipulate an exact amount of cocaine base

attributable to Green; (2) the Government engaged in prosecutorial

misconduct; and (3) counsel deficiently failed to (a) adequately advise

Green on the consequences of proceeding to trial, (b) fully investigate

her case, (c) object to sentencing enhancements, and (d) file a direct

appeal. Doc. 138.


                                     2
    Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 3 of 13




     A. Indictment & Misconduct

     Green’s challenges to the sufficiency of the indictment and alleged

prosecutorial misconduct are procedurally defaulted because she did not

raise them on direct appeal.     Lynn v. United States, 365 F.3d 1225,

1234 (11th Cir. 2004) (a movant may not use her collateral attack as “a

surrogate for a direct appeal.”). She has also not shown cause and

prejudice sufficient to defeat this procedural bar.   See United States v.

Montano, 398 F.3d 1276, 1280 (11th Cir. 2005) (to excuse the procedural

bar, a § 2255 movant must “demonstrate a cause for [her] default and

show actual prejudice suffered as a result of the alleged error.”).

     Green nominally pleads ineffective assistance of counsel (IAC) to

overcome her failure to appeal: “The petitioner asked counsel to appeal,

where he did in all honesty state that he believed that appealing was not

in her best interest, and chose not to appeal. But, once a defendant asks

for an appeal to be filed, it is her right to have a notice put into the

court.” Doc. 138 at 5. A failure to consult with a defendant regarding an

appeal, or otherwise abide her wish to appeal, can constitute IAC.        See

Roe v. Flores-Ortega , 528 U.S. 470, 480 (2000). But movant expressly

told her lawyer, in writing, not to file an appeal after she was fully


                                     3
     Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 4 of 13




informed of her appellate rights.               See doc. 126 (“Notice of Post-

Conviction Consultation”) at 2.2 Green ignores this inconvenient fact in

declaring, under penalty of perjury, the contrary. Doc. 138 at 13 (“I

declare (or certify, verify, or state) under penalty of perjury that the

foregoing is true and correct. . . .”). 3 Her bare assertion to the contrary

now cannot overcome what she swore to be true shortly after sentencing.

See, e.g. , Eason v. United States , 2014 WL 4384652 at * 3 (S.D. Ga. Sept.

3, 2014). And with nothing to excuse her failure to appeal, Green’s



2
 The Notice is a document this Court developed to memorialize counsel's
consultation with his client and reflect the client's appeal decision. See Guyton v.
United States , 2013 WL 1808761 at * 2 (S.D. Ga. Apr. 29, 2013) (the “Notice of
Counsel’s Post-Conviction Obligations” requires that both counsel and client execute
and file the form, thus preserving a record of defendant's instructions regarding an
appeal). Interestingly, Green initially initialed beside the option electing to appeal.
However, she crossed it out (and initialed to confirm it was her intention to do so)
and wrote that “I accidently initial[e]d the wrong line above so I crossed through it
and then initial[e]d the line below. I do not wish to appeal.” Doc. 126 at 2. This
unambiguous explanation confirms that Green knowingly and voluntarily -- after
counsel fully explained “the consequences of failing [to appeal]” to her -- declined to
appeal her conviction or sentence.
3
  Lying under oath, either live or “on paper,” is a criminally prosecutable offense .
See United States v. Roberts , 308 F.3d 1147, 1155 (11th Cir. 2002) (defendant’s falsely
subscribing to statement in his habeas petition that he had not previously filed a
§ 2255 motion was "material" for purposes of perjury prosecution; statement fooled
the clerk of the court into accepting the "writ" for filing, and led the magistrate judge
to consider its merits until she discovered that the "writ" was a successive § 2255
motion in disguise); United States v. Dickerson , CR608-36, doc. 1 (S.D. Ga. Dec. 11,
2008) (§ 2255 movant indicted for perjury for knowingly lying in his motion seeking
collateral relief from his conviction); id ., doc. 47 (guilty verdict), cited in Irick v.
United States , 2009 WL 2992562 at * 2 (S.D. Ga. Sept. 17, 2009); see also Colony Ins.
Co. v. 9400 Abercorn, LLC , 866 F. Supp. 2d 1376, 1378 n. 2 (S.D. Ga. 2012).
                                            4
    Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 5 of 13




claims are procedurally defaulted. See United States v. Nyhuis , 211 F.3d

1340, 1344 (11th Cir. 2000).

     Regardless, Green’s claim that the indictment’s failure to specify a

drug amount specifically attributable to her is without merit: there is no

constitutional requirement for an indictment to set forth an exact time,

location, drug amount, or purchaser of illegal drugs.   See United States

v. Steele, 178 F.3d 1230, 1234 (11th Cir. 1999). All that is required of

an indictment is that it “present the essential elements of the offense,

notify the accused as to the charges, and enable the accused to rely

upon a judgment as a bar against double jeopardy.”        United States v.

Breal, 593 F. App’x 949, 952 (11th Cir. 2014). Here, the indictment

identified a specific time period (March through November 2015),

location (Liberty County, within the Southern District of Georgia),

conspirators (Larron Bruce, Gregory Harrington, Willie Nelson Bruce,

and Timecka Green), Schedule II controlled substance (cocaine base),

and actions (conspiring to possess, manufacture, and possession with

intent to distribute cocaine base in violation of 21 U.S.C. § 841 et seq.).

This information was more than sufficient to inform Green of the charge

against her. See Breal, 593 F. App’x at 952; Steele, 178 F.3d at 1233-


                                     5
    Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 6 of 13




34; United States v. Stefan , 784 F.2d 1093, 1101-02 (11th Cir. 1986).

     Movant’s conclusory accusation of prosecutorial misconduct is also

meritless. Green argues -- without any citation to the record or a hint

as to how it actually prejudiced her case -- that the Government

engaged in misconduct by interviewing T.G. without parental consent or

the presence of a parent/guardian. Docs. 138 at 9 & 139 at 4. Green

apparently believes that T.G.’s inconsistent statements and “checkered

past” should have been brought to the Court’s attention -- which they

were, throughout both trial and sentencing, when T.G. testified and was

cross-examined, see doc. 146 (trial transcript) at 73-96; doc. 147

(sentencing hearing transcript) at 29-47 -- though it is unclear

specifically what she thinks should have been done or how it should

have affected her trial and/or sentencing.       See docs. 138 & 139. And

this Court has no obligation to address conclusory allegations not

developed and factually supported by petitioner.       See Chavez v. Sec’y

Fla. Dep’t of Corr. , 647 F.3d 1057, 1061 (11th Cir. 2011) (“allegations

must be factual and specific, not conclusory.”); Bartley v. United States,

2013 WL 6234694 at * 2-3 (S.D. Ga. Dec. 2, 2013) (a § 2255 movant

“must not just raise, but argue his claims.”).


                                     59
    Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 7 of 13




     B. Ineffective Assistance of Counsel

      Green contends her counsel performed deficiently in several

material respects, by failing to (1) adequately advise her on the

consequences of proceeding to trial, (2) fully investigate her case,

(3) object to sentencing enhancements, and (4) file a direct appeal.

Docs. 138 & 139. These claims fail.

     “To prevail on a claim of ineffective assistance of counsel, a

prisoner must prove that his counsel rendered deficient performance

and that he was prejudiced by the deficient performance.”         Castillo v.

United States, 816 F.3d 1300, 1303 (11th Cir. 2016) (citing Strickland v.

Washington, 466 U.S. 668, 687 (1984)). In evaluating adequacy of

performance, “counsel is strongly presumed to have rendered adequate

assistance and made all significant decisions in the exercise of

reasonable professional judgment.”         Strickland, 466 U.S. at 690. “For

performance to be deficient, it must be established that, in light of all

the circumstances, counsel’s performance was outside the wide range of

professional competence.” Putman v. Head, 268 F.3d 1223, 1243 (11th

Cir. 2001).

     As to the prejudice prong, the prisoner must show “that there is a


                                      ii
     Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 8 of 13




reasonable probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.”       Strickland, 466

U.S. at 694; Matire v. Wainwright, 811 F.2d 1430, 1434 (11th Cir. 1987)

(same); see also Butcher v. United States, 368 F.3d 1290, 1293 (11th

Cir. 2004) (“[A]ttorney errors come in an infinite variety and are as

likely to be utterly harmless in a particular case as they are to be

prejudicial. That the errors had some conceivable effect on the outcome

of the proceeding is insufficient to show prejudice.”).

         As discussed above, Green’s allegation that counsel failed/refused

to file a direct appeal against her wishes is patently contradicted by the

record.     See doc. 126 (movant’s signed Post-Conviction Consultation

Certificate declining to appeal after being advised by counsel on the

consequences of so doing). The same goes for Green’s contention that

counsel failed to fully apprise her on the consequences of proceeding to

trial.    See doc. 148-1 (movant’s signed affirmation that her counsel

“reviewed [with her] the two plea offers that were extended by the

United States. I have rejected the offers and wish to proceed to trial. I

know the potential consequences of proceeding to trial; and I freely and

voluntarily express my desire to proceed to trial. I am satisfied with


                                      [.J
    Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 9 of 13




[my attorney], and have no complaints about him.”); Missouri v. Frye,

132 S. Ct. 1399, 1409 (2012) (to demonstrate Strickland-level prejudice,

movant must first “demonstrate a reasonable probability [she] would

have accepted the . . . plea offer had [she] been afforded effective

assistance of counsel.”); Ervin v. United States, 2017 WL 465471 at *3

(S.D. Ga. Feb. 1, 2017) (movant’s “disingenuous contention, that but for

counsel’s ‘misadvice’ he would have pleaded guilty, is hogwash;” movant

rejected the plea agreement because he “thought he could do better” and

the fact that he “gambled and lost, in the face of overwhelming evidence

of his guilt, does not render his counsel’s performance deficient.”).

     Her argument that counsel failed to object to sentencing

enhancements, too, is contrary to the record -- counsel in fact lodged

objections to the PSR and argued at length at sentencing.         See PSR,

Addendum & doc. 147 (sentencing hearing transcript) at 4-53. That the

Court disagreed and overruled those objections does not render

counsel’s performance deficient. See Jones v. Barnes, 463 U.S. 745, 751

(1983) (there is no “constitutional right to compel appointed counsel to

press nonfrivolous points”).

     Finally, Green’s argument that counsel failed to fully investigate


                                     RI
   Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 10 of 13




her case, including locating and interviewing witnesses that could have

testified to her “turbulent” relationship with her daughter, T.G., is

without merit. Doc. 139 at 1. “[C]ounsel has a duty to make reasonable

investigations or to make a reasonable decision that makes particular

investigations unnecessary.”   Strickland, 466 U.S. at 690-91 (emphasis

added). To be effective, counsel is not required to “pursue every path

until it bears fruit or until all hope withers.”   Williams v. Head, 185

F.3d 1223, 1237 (11th Cir. 1999); see also Rogers v. Zant, 13 F.3d 384,

387 (11th Cir. 1994) (the requirement to “investigate” a case “reflects

the reality that lawyers do not enjoy the benefit of endless time, energy,

or financial resources.”). And, “a court should be highly deferential to

those choices . . . that are arguably dictated by a reasonable trial

strategy.” Devier v. Zant, 3 F.3d 1445, 1450 (11th Cir.1993).

     The Court, however, does not need to speculate on counsel’s

apparently adequate trial strategy in this case: even Green, conclusorily

lobbing accusations of deficiency at counsel’s approach, doesn’t know

how he could have done better. Movant does not specify which

witnesses counsel should have located, or what testimony relevant to

trial or sentencing they might have produced.      See doc. 139 at 1; see


                                    10
    Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 11 of 13




doc. 146 (trial transcript) at 73-93 (direct examination of T.G.) & 94-96

(cross -examination of T.G.); doc. 147 (sentencing hearing transcript) at

39-43 (cross -examination of T.G.). Nor does she identify what prejudice,

if any, she suffered as a result of counsel’s failure to dig up witnesses

who would have further impeached her daughter’s noted inconsistencies

on the witness stand. She simply states that he should have, and could

have, done better in some way. Again conclusory allegations support

no § 2255 relief. 4

C. CONCLUSION

      Accordingly, Timecka Green’s § 2255 motion should be DENIED . 5



4
  “Laundry list” claims of deficient representation -- offered without explaining,
with full citation to the record, how they were viable and that no reasonable lawyer
would have missed them -- do not an IAC claim make. A typical IAC claim succeeds
only where counsel has, metaphorically speaking, shot at the side of a barn yet
missed. See Sullivan v. Secretary, Fla. Dep’t. of Corr. , 837 F.3d 1195, 1205 (11th Cir.
2016) (an attorney’s ignorance of a point of law that is fundamental to his case
combined with his failure to perform basic research on that point is a quintessential
example of unreasonable performance, as element of ineffective assistance of
counsel); see also id. at 1206 (in prosecution for fleeing and attempting to elude a law
enforcement officer, trial counsel was ineffective in presenting a voluntary
intoxication defense long after it had been statutorily abolished, instead of advising
defendant to accept state’s pretrial plea offer).
5
  Because her motion is entirely without merit and his contentions are
unambiguously contradicted by the record, Green’s request for an evidentiary
hearing (doc. 138 at 13) is DENIED . Winthrop-Redin v. United States , 767 F.3d
1210, 1216 (11th Cir. 2014) (a hearing is unnecessary “if the allegations are ‘patently
frivolous,’ ‘based upon unsupported generalizations,’ or ‘affirmatively contradicted
by the record.’”); Holmes v. United States , 876 F.2d 1545, 1553 (11th Cir. 1989)
(same); Lynn , 365 F.3d at 1239 (where the motion “amount[ed] to nothing more than
                                          11
    Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 12 of 13




For the reasons set forth above, it is plain that she raises no substantial

claim of deprivation of a constitutional right. Accordingly, no certificate

of appealability should issue. 28 U.S.C. § 2253; Fed. R. App. P. 22(b);

Rule 11(a) of the Rules Governing Habeas Corpus Cases Under 28

U.S.C. § 2255 (“The district court must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant.”).

Any motion for leave to appeal in forma pauperis therefore is moot.

      This Report and Recommendation (R&R) is submitted to the

district judge assigned to this action, pursuant to 28 U.S.C.

§ 636(b)(1)(B) and this Court’s Local Rule 72.3. Within 14 days of

service, any party may file written objections to this R&R with the

Court and serve a copy on all parties. The document should be

captioned “Objections to Magistrate Judge’s Report and

Recommendations.” Any request for additional time to file objections

should be filed with the Clerk for consideration by the assigned district

judge.

      After the objections period has ended, the Clerk shall submit this




mere conclusory allegations, the district court was not required to hold an
evidentiary hearing on the issues and correctly denied [movant]’s § 2255 motion.”).
                                        12
   Case 4:15-cr-00204-RSB-CLR Document 150 Filed 03/03/17 Page 13 of 13




R&R together with any objections to the assigned district judge. The

district judge will review the magistrate judge’s findings and

recommendations pursuant to 28 U.S.C. § 636(b)(1)(C). The parties are

advised that failure to timely file objections will result in the waiver of

rights on appeal. 11th Cir. R. 3-1; see Symonett v. V.A. Leasing Corp. ,

648 F. App’x 787, 790 (11th Cir. 2016); Mitchell v. U.S. , 612 F. App’x

542, 545 (11th Cir. 2015).

     SO REPORTED AND RECOMMENDED, this 3rd day of

March, 2017.



                                     UNITED STATES MAGISTRATE .ffJD&E
                                     SOUTHERN DISTRICT OF GEORGIA




                                    13
